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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA




Sheila Potocnik,                                   Civ. No. 13-2093 (PJS/JJG)

                      Plaintiff,

v.                                                 PROTECTIVE ORDER

Walter Carlson, acting in his individual
capacity as a Sergeant for the City of
Minneapolis Police Department; City of
Anoka; City of Bloomington; City of
Brooklyn Center; City of Coon Rapids;
City of Minneapolis; John and Jane Does
(1-500), acting in their individual capacity
as supervisors, officers, deputies, staff,
investigators, employees or agents of the
other law-enforcement agencies; and
Entity Does (1-50), including cities,
counties, municipalities, and other
entities sited in Minnesota and federal
departments and agencies,

                      Defendants.


JEANNE J. GRAHAM, United States Magistrate Judge

      This matter is before the undersigned on Defendant City of Minneapolis’s Second Motion

for Protective Order (ECF No. 94). After oral argument on other motions, the Court asked

Plaintiff Sheila Potocnik and Defendant City of Minneapolis (“Minneapolis”) each to submit a

proposed protective order, which the Court received. In its September 10, 2014 Order ruling on

those earlier motions, the Court requested supplemental letter briefing from Plaintiff and

Minneapolis on what issues, if any, remained with respect to Minneapolis’s Second Motion for
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Protective Order. (Order 5, Sept. 10, 2014, ECF No. 104.) These letters indicate that issues do

remain.

      Minneapolis argues that the identities of law enforcement officers who accessed Plaintiff’s

information should remain confidential unless or until the Court grants Plaintiff’s motion to

amend her complaint. (Minneapolis’s Letter 1, Sept. 11, 2014, ECF No. 105.) Specifically,

Minneapolis asks that, should Plaintiff move to amend her complaint, Plaintiff should use

officers’ initials, rather than their full names, to identify them as additional defendants in her

motion to amend her complaint. (Id.) In addition, Minneapolis requests that the Court consider

certain employment data and information in city documents to be confidential, and proposes that

the parties redact certain personal information, such as dates of birth and social security numbers,

from all records produced in discovery. (Id. at 2.) Finally, Minneapolis urges the Court to refrain

from ruling on whether the Minnesota Government Data Practices Act (“MGDPA”) applies to

discovery in this matter and instead simply to exercise its authority to issue a protective order

under Fed. R. Civ. P. 26(c) which is informed by privacy statutes like the MGDPA. (Id. at 3.)

      Plaintiff asks the Court to rule that the MGDPA does not apply to discovery in civil actions

in federal court and that the names of individuals who accessed Plaintiff’s motor vehicle records

not be treated as confidential information. (Pl.’s Letter 2, 4, Sept. 11, 2014, ECF No. 106.)

Plaintiff also notes that, because only the Department of Public Safety (“DPS”) holds information

about one employee of the Department of Corrections who accessed Plaintiff’s information, she

will need additional time beyond the December 31, 2014 deadline for motions seeking to amend

the pleadings or to add parties in order to timely add this individual to her complaint. (Id. at 4-5.)

      The Court, having carefully reviewed the parties’ proposed protective orders and the

arguments presented in their letter briefs, is persuaded that a protective order is necessary here.

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      With respect to the applicability of the MGDPA in this case, the Court notes that other

courts in this District have held that the MGDPA does not apply to civil discovery in federal court

because the Federal Rules of Civil Procedure govern federal civil proceedings. See, e.g., Her v.

Paulos, Civ. No. 11-808, 2012 WL 6634777, at *5 (D. Minn. Dec. 20, 2012) (“Defendants may

not refuse discovery requests where the information is reasonably calculated to lead to the

discovery of admissible evidence on the grounds that the MGDPA prevents its disclosure.”

(citation omitted)); Scheffler v. Molin, Civ. No. 11-3279, 2012 WL 3292894, at *4 (D. Minn.

Aug. 10, 2012) (“The MGDPA tells Minnesota government authorities what information they

must and must not disclose when a request is made under the MGDPA. What it does not do is

trump the Federal Rules of Civil Procedure, which define what information is discoverable in a

federal lawsuit such as this.”). Although the Court recognizes that the Federal Rules govern

discovery in this dispute, the Court notes the importance of the interests the Minnesota

Legislature seeks to protect through the MGDPA. Because the Court sees value in requiring a

judicial check before a government agency releases private information, it declines to hold that

the privacy interests protected by the MGDPA are completely inapplicable in federal court. Much

as individuals benefit from judicial approval of a warrant before police may conduct a search or

seizure, so too is the public protected when the judiciary checks the release of private information

held by a government agency, even when the information is relevant to a case.

      In addition, the Court does not rule on Plaintiff’s concern that she may not be able to obtain

the name of an individual who accessed her information in time to amend her complaint by the

current deadline for motions to amend the pleadings or to add parties (see Pretrial Scheduling

Order 4, July 17, 2014, ECF No. 59). At this point, Plaintiff’s concern is purely speculative.



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Should either party find that they need additional time to conduct discovery before a Court-

imposed deadline, they are free to bring a motion to amend the Pretrial Scheduling Order.

      Therefore, Minneapolis’s Second Motion for Protective Order (ECF No. 94) is

GRANTED. The Protective Order set forth below shall govern the disclosure of confidential

information in this case.

      IT IS HEREBY ORDERED that confidential information shall be disclosed only in the

following ways:

      1. As used in the Protective Order, these terms have the following meanings:

              a. “Attorneys” means the undersigned counsel of record;

              b. “Documents” are all materials within the scope of Fed. R. Civ. P. 34;

              c. “Confidential” documents are documents designated pursuant to paragraph 2;

              d. “Qualified persons” means those individuals listed in paragraph 5.

              e. “Outside Vendors” means messenger, copy, coding, and other clerical-services
                 vendors not employed by a party or its Attorneys;

              f. “Written Assurance” means an executed document in the form attached as
                 Exhibit A.

      2.        A party may designate documents as “Confidential” to protect information within

the scope of Fed. R. Civ. P. 26(c) or the MGDPA, including the following:

              a. Personnel records of employees whose employment falls under Minn. Stat.
                 § 13.43, subd. 5 and 5a (undercover law enforcement officer, employees of a
                 secure treatment facility or a state correctional facility, or employees of the
                 Department of Corrections who are directly involved in supervision of offenders
                 in the community);

              b. Personal and sensitive law enforcement records involving non-parties to this
                 action; and

              c. Internal Affairs Department investigative records, except active investigations.


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         3.       Except for information about employees whose work falls under Minn. Stat.

§ 13.43, subd. 5 and 5a, the following data shall not be considered “Confidential” by the parties

because the MGDPA classifies this information as public data (see Minn. Stat. § 13.43, subd.

2(a)):

                 a. An employee’s name;

                 b. An employee’s job title and description;

                 c. An employee’s education and training background and previous work
                    experience;

                 d. The existence and status of any complaints or charges against the employee,
                    even if the complaint or charge does not result in discipline;

                 e. The final disposition of discipline, together with the specific reason for the
                    discipline and data documenting the basis of the discipline;

                 f. An employee’s work location; and

                 g. An employee’s work telephone number.

         4.       A party producing documents subject to this Protective Order may exclude or

redact the following information:

                 a. Dates of birth;

                 b. Social security numbers;

                 c. Home addresses;

                 d. Home or personal phone numbers;

                 e. Physical identification data;

                 f. Driver’s license numbers; and

                 g. Medical and psychological data.




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     5.        Confidential materials (including portions of deposition transcripts that are

designated as “Confidential”) or information derived therefrom may be disclosed or made

available by counsel only to “Qualified Persons” as defined herein. “Qualified Persons” are:

             a. The Court and its staff;

             b. Attorneys, their law firms, and their Outside Vendors;

             c. Persons shown on the face of the document to have authored or received it;

             d. Court reporters retained to transcribe testimony;

             e. The parties;

             f. Outside independent persons (i.e., persons not currently or formerly employed
                by, consulting with, or otherwise associated with any party) who are retained by
                a party or its Attorneys to provide assistance as mock jurors or focus group
                members or the like, or to furnish technical or expert services, or to give
                testimony in this action.

     6.        All “Confidential” documents, along with the information that has been derived

from them, shall be used solely for this action, and no person receiving such documents shall,

directly or indirectly, transfer, disclose, or communicate in any way the contents of the

documents to any person other than those specified in paragraph 5. Any other use is prohibited.

     7.        Third parties producing documents in the course of this action may also designate

documents as “Confidential,” subject to the same protections and constraints as the parties to the

action. A copy of the Protective Order shall be served along with any subpoena served in

connection with this action. All documents produced by such third parties shall be treated as

“Confidential” for a period of fourteen (14) days from the date of their production, and during

that period any party may designate such documents as “Confidential” pursuant to the terms of

the Protective Order.



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     8.        All depositions or portions of depositions taken in this action that contain

confidential information may be designated as “Confidential” and thereby obtain the protections

accorded other “Confidential” documents. Confidentiality designations for depositions shall be

made either on the record or by written notice to the other party within ten (10) days of receipt of

the transcript. Unless otherwise agreed, depositions shall be treated as “Confidential” during the

ten-day period following receipt of the transcript. The deposition of any witness (or any portion

of such deposition) that encompasses confidential information shall be taken only in the presence

of persons who are qualified to have access to such information.

     9.        Nothing in this Protective Order shall be construed as waiving any objections that

the parties may raise as to the discoverability of any information which may or could be

construed as falling within the ambit of this Protective Order.

     10.       Each person appropriately designated pursuant to paragraph 5(f) to receive

“Confidential” information shall execute a “Written Assurance” in the form attached as Exhibit

A.

     11.       Any party who inadvertently fails to identify documents as “Confidential” shall

have ten (10) days from the discovery of its oversight to correct its failure. Such failure shall be

corrected by providing written notice of the error and substituted copies of the inadvertently

produced documents. Any party receiving such inadvertently unmarked documents shall make

reasonable efforts to retrieve documents distributed to persons not entitled to receive documents

within the corrected designation.

     12.       Any party who inadvertently discloses documents that are privileged or otherwise

immune from discovery shall, promptly upon discovery of such inadvertent disclosure, so advise

the receiving party and request that the documents be returned. The receiving party shall return

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such inadvertently produced documents, including all copies, within ten (10) days of receiving

such a written request. The party returning such inadvertently produced documents may

thereafter seek re-production of any such documents pursuant to applicable law.

     13.       Any party may object to or request a change in the designation of any information

designated “Confidential.” Any such document shall be treated as designated “Confidential”

until the parties agree to the changed designation or the Court orders the changed designation. If

the requested change in designation is not agreed to within seven (7) days, the party seeking the

change may move the Court for appropriate relief, providing notice to the producing party of the

motion and to any third party whose designation of produced documents as “Confidential” in the

action may be affected. The party asserting that the material is “Confidential” shall have the

burden of proving that the information in question is within the scope of protection afforded by

Fed. R. Civ. P. 26(c).

     14.       Documents marked “Confidential” will be filed under seal. If either party wishes

to file such documents in the Court without seal, that party will provide notice of intent to file or

use such documents to the Court and the other party. The party receiving the notice shall then

have ten (10) days to provide the Court with a request that such documents be filed under seal. If

no such request is received, the party providing notice shall file the documents. If such notice is

received, the Court may, in its discretion, order such documents to be filed under seal.

     15.       A party’s designation of material as protected pursuant to this Protective Order

cannot be used as the sole basis for filing material under seal in connection with a dispositive or

trial-related motion. Only those portions of a party’s submission which otherwise meet the

requirements of protection from public filing under the attorney-client privilege, work-product

doctrine, or standards articulated in Fed. R. Civ. P. 26(c)(1) shall be filed under seal. The parties

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shall meet and confer before filing documents or memoranda described in this paragraph to

ensure that only the minimum amount of material the parties ask the Court to consider will be

filed under seal.

     16.       If a party files with the Court a document containing “Confidential” information,

it shall do so in compliance with the Electronic Case Filing Procedures for the District of

Minnesota. Prior to disclosure at trial or a hearing of materials or information designated

“Confidential,” the parties may seek further protections against public disclosure from the Court.

     17.       Any material filed under seal for the Court’s consideration shall include a hand-

delivered copy to chambers.

     18.       Any party may apply to the Court for a modification of the Protective Order, and

nothing in the Protective Order shall be construed to prevent a party from seeking such further

provisions enhancing or limiting confidentiality as may be appropriate.

     19.       No action taken in accordance with the Protective Order shall be construed as a

waiver of any claim or defense in the action or of any position as to discoverability or

admissibility of evidence.

     20.       There shall be no reproduction whatsoever of documents marked “Confidential”

except that as required for the purposes specified in this Protective Order. Copies, excerpts, or

summaries may be shown or given to Qualified Persons as specified by this Protective Order.

     21.       Within sixty (60) days of the termination of this action, including any appeals,

each party shall either destroy or return to the opposing party all documents designated by the

opposing party as “Confidential” and all copies of such documents. In addition, each party shall

destroy all extracts or data taken from such documents. Each party shall provide a certification as

to such return or destruction within the sixty-day period. However, Attorneys shall be entitled to

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retain a set of all documents filed with the Court and all correspondence generated in connection

with the action.

      22.      The obligations imposed by this Protective Order shall survive the termination of

this action.




Dated: September 26, 2014                    s/ Jeanne J. Graham
                                            JEANNE J. GRAHAM
                                            United States Magistrate Judge




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                                         EXHIBIT A

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA




Sheila Potocnik,                                    Civ. No. 13-2093 (PJS/JJG)

                      Plaintiff,

v.                                                  WRITTEN ASSURANCE

Walter Carlson, acting in his individual
capacity as a Sergeant for the City of
Minneapolis Police Department; City of
Anoka; City of Bloomington; City of
Brooklyn Center; City of Coon Rapids;
City of Minneapolis; John and Jane Does
(1-500), acting in their individual capacity
as supervisors, officers, deputies, staff,
investigators, employees or agents of the
other law-enforcement agencies; and
Entity Does (1-50), including cities,
counties, municipalities, and other
entities sited in Minnesota and federal
departments and agencies,

                      Defendants.



_________________ declares that: I reside at ____________________________________ in the

City of ____________________, County of ___________________, State of _______________.

My    telephone    number     is   _________________.     I   am   currently     employed   by

__________________________, located at _____________________, and my current job title is

__________________________________________.




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         I have read and I understand the terms of the Protective Order in the above-captioned

case pending in the United States District Court for the District of Minnesota. I agree to comply

with and be bound by the provisions of the Protective Order. I understand that any violation of

the Protective Order may subject me to sanctions by the Court.

         I shall not divulge any documents, or copies of documents, designated “Confidential”

obtained pursuant to such Protective Order, or the contents of such documents, to any person

other than those specifically authorized by the Protective Order. I shall not copy or use such

documents except for the purposes of this action and pursuant to the terms of the Protective

Order.

         As soon as practical, but no later than thirty (30) days after final termination of this

action, I shall return to the attorney from whom I have received them, any documents in my

possession designated “Confidential,” and all copies, excerpts, summaries, notes digests,

abstracts, and indices relating to such documents.

         I submit myself to the jurisdiction of the United States District Court for the District of

Minnesota for the purpose of enforcing or otherwise providing relief to the Protective Order.




Executed on ______________________            __________________________________________
                    Date                                      Signature




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